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LUANNE THOMAS
219 WEATHERBY AVENUE
SWEDESBORO, NJ 08085
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                                 United States Bankruptcy Court
                                            District of New Jersey
In Re: LUANNE THOMAS                                                      Case No.:                  21-19574-JNP

                                                                           Chapter:                      13
                                                                          Judge:               Jerrold N. Poslusny Jr.

Notice of Final Cure Payment Pursuant to F.R.B.P. 3002.1 (f)

 Part 1: Claim Information
 a. Name of holder (or servicer) of claim secured by a security interest in the debtor's principal
 residence:                                       ROCKET MORTGAGE, LLC

 b. Proof of Claim number on court's registry:                 11

 c. Trustee's claim number (if any):                     15

 Part 2: Trustee Certification

I,                   Andrew B. Finberg              , the Chapter 13 Trustee, hereby certify that all
payments required to be paid through the Chapter 13 Plan for the benefit of the secured creditor named
above, including pre-petition arrears and all other amounts due to be paid to the secured creditor through
the Chapter 13 Plan which arose post-petition pursuant to Order or Modified Plan, have been paid in full
to the secured creditor. I futher certify that on         May 13, 2025 a copy of this notice was served
on the debtor(s), debtor's attorney (if any) and the secured creditor at the address noted below.

 Part 3: Signature

     /s/ Andrew B. Finberg                                     Date:                  May 13, 2025
 Signature

 Part 4: Service

 Notice Mailed to:
 Debtor(s) (address):        219 WEATHERBY AVENUE, SWEDESBORO, NJ 08085


 Debtor(s)' Counsel:

             R Via CM/ECF
             £ Via email (email address):
             £ Via US Mail (address):

 Creditor (or creditor's counsel):

             R Via CM/ECF
             £ Via email (email address):
             £ Via US Mail (address):


             This Notice of Final Cure Payment informs the holder of the claim of its obligation to file
          and serve a Response pursuant to F.R.P.B. 3002.1 (g) under the Court’s General Order Adopting
            Supplemental Chapter 13 Plan Provisions as revised September 1, 2010. See Instructions at
                                                  paragraph (1).
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 Part 5: Instructions
 1. Response to Notice of Final Cure Payment. Within 21 days after service of the Notice of Final
 Cure Payment, the holder of a claim secured by a security interest in the debtor’s principal residence
 shall file and serve on the debtor, debtor’s counsel and trustee, Local Form, Statement In Response to
 Notice of Final Cure Payment, indicating whether (1) it agrees that the debtor has paid in full the
 amount required to cure the default, and (2) the debtor is otherwise current on all payments consistent
 with § 1322(b)(5) of the Code. The Statement shall itemize any required cure or post-petition amounts,
 if any, that the holder contends remain unpaid as of the date of the statement.

 2. Determination of Final Cure and Payment. On motion of the debtor or trustee filed within 21 days
 after service of the Statement given pursuant to paragraph (1) above, the court shall, after notice and
 hearing, determine whether the debtor has cured the default and paid all required pre and post-petition
 amounts.

 3. Order Deeming Mortgage Current. If the holder of a claim fails to respond to the Notice of Final
 Cure Payment, the debtor may submit a proposed order deeming the mortgage current. The proposed
 order shall be served on the holder of the secured claim and the trustee. All parties served with such an
 order shall have 7 days to file and serve an objection. A hearing may be conducted on the objection at
 the Court’s discretion.

 4. Failure to Notify. In addition to the relief accorded pursuant to paragraph (3) above, if the holder of
 a claim fails to provide information required by paragraph (1) above, the court may, after notice and
 hearing, take either or both of the following actions:

   i. preclude the holder from presenting the omitted information, in any form, as evidence in any
 contested matter or adversary proceeding in the case, unless the court determines that the failure was
 substantially justified or is harmless; or

    ii. award other appropriate relief including reasonable expenses and attorney’s fees caused by the
 failure.




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